Citation Nr: 1413844	
Decision Date: 03/31/14    Archive Date: 04/10/14

DOCKET NO.  10-23 233	)	DATE
	)

On appeal from the
Department of Veterans Affairs Regional Office in St. Petersburg, Florida


THE ISSUE

Entitlement to service connection for a bilateral eye disorder.


REPRESENTATION

Veteran represented by:	The American Legion


WITNESSES AT HEARING ON APPEAL

The Veteran and spouse




ATTORNEY FOR THE BOARD

Thomas M. Susco II, General Attorney


INTRODUCTION

The Veteran served on active duty from November 1947 to November 1951.  

This matter was originally before the Board of Veterans' Appeals (Board) on appeal from an August 2006 decision of the St. Petersburg, Florida Department of Veterans Affairs (VA) Regional Office (RO).  In January 2012, the Veteran appeared at a hearing before a Veterans Law Judge (VLJ).  In May 2012, the Board issued a decision that, in part, denied the claim of entitlement to service connection for a bilateral eye disorder.


ORDER TO VACATE

The Board may vacate an appellate decision at any time upon request of the appellant or his or her representative, or on the Board's own motion, when an appellant has been denied due process of law.  38 U.S.C.A. § 7104(a) (West 2002); 38 C.F.R. § 20.904 (2013).    

In September 2013, pursuant to a settlement agreement in the case of National Org. of Veterans' Advocates, Inc. v. Secretary of Veterans Affairs, 725 F.3d 1312 (Fed. Cir. 2013), the Board sent the Veteran a letter notifying him of an opportunity to receive a new decision from the Board that would correct any potential due process error relating to the duties of the VLJ that conducted the January 2012 hearing.  See Bryant v. Shinseki, 23 Vet. App. 488 (2010) (holding that the requirements of 38 C.F.R. § 3.103(c)(2) apply to a hearing before the Board and that a VLJ has a duty to explain fully the issues and to suggest the submission of evidence that may have been overlooked).  In October 2013, the Veteran responded that he wished to have the prior decision vacated and a new one issued in its place.

Accordingly, the portion of the May 2012 Board decision that denied entitlement to service connection for a bilateral eye disorder is vacated.  The remainder of the May 2012 Board decision remains undisturbed. 



	                        ____________________________________________
	D. C. SPICKLER
	Veterans Law Judge, Board of Veterans' Appeals





